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 9
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11
                         IN THE UNITED STATES DISTRICT COURT
12
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14
                                             Case No.
15 KRISTOFFER WINTERS, an
   individual,
16                                           COMPLAINT
          Plaintiff,
17
   v.
18
19 LUGANO DIAMONDS AND
   JEWELRY, INC., a California
20 Corporation; MORDECHAI FERDER,
   a.k.a. MOTI FERDER, an individual;
21 MORDECHAI FERDER as trustee of
22 the HAIM FAMILY TRUST; and                     JURY TRIAL DEMANDED
   SIMBA IL HOLDINGS, LLC, a
23 Delaware Corporation,
24         Defendants.
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 1          Plaintiff Kristoffer Winters complains and alleges against defendants Lugano
 2 Diamonds and Jewelry, Inc. (“Lugano Diamonds”), Mordechai Ferder, a.k.a. Moti Ferder
 3 (“Mr. Ferder”), Mr. Ferder as the trustee of the Haim Family Trust, and Simba IL Holdings,
 4 LLC (“Simba IL Holdings”) (collectively, the “Defendants”) as follows:
 5                                           INTRODUCTION
 6          1.     Lugano Diamonds is a high-end diamond and jewelry broker with eight
 7 locations (“salons”) in the United States and one salon in London. Until recently Mr. Ferder
 8 was the Chief Executive Officer of Lugano Diamonds and one of the world’s most esteemed
 9 diamond brokers.
10          2.     On or about March 15, 2025, Mr. Winters and Lugano Diamonds entered into
11 a written agreement regarding Mr. Winters’s investment of $3,075,000 in three diamonds
12 to be held by Lugano Diamonds. Lugano Diamonds agreed to make rings from the
13 diamonds and thereafter sell the diamond rings for a profit, which was to be split equally
14 between Lugano Diamonds and Winters. This agreement was guaranteed by Mr. Ferder
15 individually, the Haim Family Trust, and Simba IL Holdings. 1
16          3.     This agreement contained a “Put Right” clause that allowed Mr. Winters to
17 request at any time that Lugano Diamonds purchase Mr. Winters’s interest in the diamonds
18 and pay Mr. Winters a minimum return described in the Agreement no later than 5 days
19 from the request. On May 8, 2025, Mr. Winters exercised his “Put Right” through a letter
20 sent to Lugano Diamonds’s now-CEO Josh Gaynor.
21          4.     Lugano Diamonds failed to pay Mr. Winters any amount of money to date
22 pursuant to this agreement. As a result of Defendants’ breach of this agreement, Mr. Winters
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24          1
                The entity named in this agreement as a guarantor was “Simba IC Holdings, LLC.” However,
     on information and belief, Mr. Winters has reason to believe that the inclusion of “Simba IC Holdings,
25   LLC” on the agreement was a scrivener’s error, and that the real entity that executed the agreement was
     “Simba IL Holdings, LLC.” On information and belief, Simba IL Holdings, LLC is a Delaware limited
26   liability company with connections to Mr. Ferder. Specifically, Mr. Ferder executed a stock purchase
27   agreement in September 2021 on behalf of Simba IL Holdings, LLC, which involved the purchase of
     shares of Lugano Diamonds.
28   https://www.sec.gov/Archives/edgar/data/1345126/000134512621000039/ex992luganostockpurchaseag.
     htm.
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                                                  COMPLAINT
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 1 suffered damages in amount of at least $8,550,000, which is the balance owed to Mr.
 2 Winters as of May 15, 2025.
 3                                        THE PARTIES
 4         5.     Plaintiff Kristoffer Winters is an individual residing in Nashville, Tennessee.
 5         6.     Defendant Lugano Diamonds, Inc. is a corporation incorporated under the laws
 6 of California with its principal place of business in Newport Beach, California.
 7         7.     Defendant Mordechai Ferder is an individual residing in Orange County,
 8 California.
 9         8.     On information and belief, Mr. Ferder is the trustee of defendant the Haim
10 Family Trust.
11         9.     On information and belief, defendant Simba IL Holdings, LLC is a limited
12 liability company with a principal place of business in Delaware.
13                                JURISDICTION AND VENUE
14         10.    This Court has subject matter jurisdiction over this matter pursuant to 28
15 U.S.C. § 1332. Mr. Winters is a citizen of Tennessee, Lugano Diamonds is a citizen of
16 California, Mr. Ferder is a citizen of California, Simba IL Holdings is a citizen of Delaware,
17 and the amount in controversy exceeds $75,000, exclusive of interests and costs.
18         11.    This Court has personal jurisdiction over Defendants because Lugano
19 Diamonds’s principal place of business is in California, Mr. Ferder resides in and does
20 business in California, and the conduct giving rise to the allegations in this Complaint
21 occurred, in substantial part, in California.
22         12.    Venue in the Central District of California is proper pursuant to 28 U.S.C.
23 § 1391(a), in that a substantial part of the events and/or omissions giving rise to the claims
24 asserted herein occurred in the Central District of California. Venue in the Central District
25 of California is also proper because the agreement giving rise to the allegations in this
26 Complaint requires any dispute to be submitted “to the state or federal courts located in the
27 Central District of the State of California.”
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 1                                 GENERAL ALLEGATIONS
 2         13.    On or about March 15, 2025, Lugano Diamonds, through Mr. Ferder, entered
 3 into an agreement with Mr. Winters (the “Agreement”).
 4         14.    The Agreement superseded three prior agreements Mr. Winters had entered
 5 into with Mr. Ferder, in his individual capacity and on behalf of Lugano Diamonds, which
 6 were executed on or around April 5, 2023, September 5, 2023, and November 8, 2023 (the
 7 “Prior Agreements”).
 8         15.    In the Prior Agreements, Lugano Diamonds and Mr. Ferder solicited Mr.
 9 Winters to purchase an ownership interest in three diamonds that Lugano Diamonds was
10 acquiring for resale at a profit.
11         16.    The Prior Agreements provided that (i) the diamonds would be purchased on
12 behalf of Mr. Winters and Mr. Ferder through initial contributions by each partner; (ii) that
13 Mr. Ferder would take possession of the diamonds and safeguard them with other precious
14 stones in the Lugano Diamonds inventory; (iii) that Mr. Ferder would update the records of
15 Lugano Diamonds to reflect Mr. Winters’s ownership interests of the diamonds; and (iv)
16 that Mr. Ferder would purchase an insurance policy on the diamonds sufficient to cover
17 each partner’s ownership interest in them.
18         17.    The Prior Agreements also provided that any profits in connection with the
19 purchase and subsequent sale of the diamonds would be allocated among Mr. Winters and
20 Mr. Ferder in proportion to their initial capital contributions within designated timeframes.
21         18.    Mr. Winters paid Lugano Diamonds and Mr. Ferder $3,075,000 pursuant to
22 the terms of the Prior Agreements with the expectation that his contributions would be used
23 to purchase the diamonds.
24         19.    In October 2023, Lugano Diamonds paid Mr. Winters $90,000 in connection
25 with the Prior Agreements. Mr. Winters never received any additional payments pursuant
26 to the Prior Agreements.
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                                             COMPLAINT
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 1         20.   On or around March 15, 2025, Mr. Winters and Lugano Diamonds entered into
 2 the Agreement. A true and correct copy of the Agreement is attached to this Complaint as
 3 Exhibit A.
 4         21.   Recital B of the Agreement provides that Mr. Ferder “recommended to [Mr.
 5 Winters] to invest in certain diamonds” and that Mr. Winters “made such investments as
 6 reflected” in a spreadsheet attached to the Agreement as an exhibit (the “Spreadsheet”). The
 7 Spreadsheet contains a “MINIMUM RETURN SCHEDULE” that describes a schedule of
 8 minimum returns due from Lugano Diamonds to Mr. Winters monthly through August 15,
 9 2025 in connection with the Prior Agreements.
10         22.   Recital C of the Agreement provides that “Lugano consummated the purchase
11 of the Diamonds on behalf of [Mr. Winters] in connection with the Prior Agreements, with
12 the intent of making rings from the diamonds and thereafter selling the diamonds to third
13 parties.”
14         23.   Paragraph Two of the Agreement provides that:
15                      Lugano and [Mr. Ferder] acknowledge and agree (a) the
                 Diamonds have been purchased for the original investment
16               amounts set forth in the Recitals on behalf of the Investor and are
                 accounted for accurately and in conformity with this Agreement
17               on the books and records of Lugano, (b) the Diamonds are in the
                 possession of Lugano on behalf of Investor and are stored in
18               safekeeping with other precious stones in Lugano's inventory, (c)
                 the Diamonds are fully insured to cover the minimum returns set
19               forth in the Prior Agreements, (d) Lugano is fully responsible for
                 any damage and risk of loss of the Diamonds for any reason prior
20               to the sale of the Diamonds to the Buyers, (e) there is no more
                 than $30M of similar inventory financing arrangements
21               outstanding with Lugano as of the date of this Agreement, and (f)
                 the Spreadsheet is true and correct in all respects.
22
23         24.   Paragraph Four of the Agreement provides that “[w]ithin 3 business days
24 following the sale of the Diamonds . . . , Lugano and [Mr. Ferder] will provide a complete
25 accounting to [Mr. Winters] along with reasonable back-up as may be requested and wire
26 the necessary funds to [Mr. Winters].”
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 1         25.   Paragraph Four of the Agreement provides that, in connection with the sale of
 2 the diamonds, the sale price will be allocated to Mr. Winters and Lugano Diamonds as
 3 follows:
 4                       (a) first, the original investment amount will be returned to
                 [Mr. Winters]; (b) second, Lugano will be reimbursed for the
 5               expenses incurred in connection with the production of the rings
                 . . .; (c) third, any remaining profit will be split between [Mr.
 6               Winters] and Lugano 50% to [Mr. Winters] and 50% to Lugano.”
 7         26.   Paragraph Five of the Agreement grants Mr. Winters a “Put Right,” which
 8 enables Mr. Winters to:
 9                     request at any time . . . with 5 days prior notice, for Lugano
                 to purchase the Diamonds from [Mr. Winters] for the Minimum
10               Return set forth on the Spreadsheet and Lugano shall wire such
                 amount to [Mr. Winters] . . . no later than 5 days from the date
11               notice was provided by [Mr. Winters].
12         27.   Paragraph Six of the Agreement is a “Guaranty” clause, which states that Mr.
13 Ferder, the Haim Family Trust, and Simba IL Holdings “hereby irrevocably and
14 unconditionally guarantees, on a joint and several basis, Lugano’s complete and timely
15 compliance with and performance of all representations, agreements, covenants and
16 obligations of Lugano under this Agreement.”
17         28.   Paragraph Seven, subsection b, provides that the Agreement “contains the
18 complete agreement by, between and among the parties and supersedes any prior
19 understandings, agreements or representations by, between or among the parties, written or
20 oral, which may have related to the subject matter hereof in any way.”
21         29.   The Agreement was signed by (i) Mr. Winters as Investor; (ii) Mr. Ferder on
22 behalf of Lugano Diamonds; (iii) Mr. Ferder individually as a Guarantor; (iv) Mr. Ferder
23 as trustee on behalf of the Haim Family Trust as a Guarantor; and (v) Mr. Ferder on behalf
24 of Simba IL Holdings as a Guarantor.
25         30.   On May 8, 2025, Mr. Winters sent a letter to Lugano Diamonds and its now-
26 CEO Josh Gaynor, in which he exercised his “Put Right” as permitted by Paragraph Five
27 of the Agreement.
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 1         31.   The balance owed to Mr. Winters as of May 15, 2025, pursuant to the
 2 Agreement was $8,550,000.
 3         32.   Defendants have not paid any money to Mr. Winters pursuant to the
 4 Agreement.
 5                                FIRST CAUSE OF ACTION
 6                (Breach of Contract Against Defendant Lugano Diamonds)
 7         33.   Plaintiff realleges and incorporates by reference the allegations set forth in
 8 Paragraphs 1 through 32 above as though fully set forth here.
 9         34.   At all relevant times, Mr. Winters fulfilled or performed all obligations
10 required of him under the Agreement.
11         35.   Lugano Diamonds materially breached the Agreement, including without
12 limitation, by failing to timely pay Mr. Winters all money he is due and owed under the
13 Agreement within five days of the date on which Mr. Winters exercised his “Put Right.”
14         36.   As a direct and proximate result of Lugano Diamond’s material breach of the
15 Agreement, Mr. Winters has suffered damages in an amount equal to the amount due and
16 owing to him under the Agreement, which sums are readily ascertainable, and otherwise to
17 be proven at trial of at least $8,550,000.
18                               SECOND CAUSE OF ACTION
19       (Breach of Guaranty Against Defendants Mr. Ferder, the Haim Family Trust,
20                                   and Simba IL Holdings)
21         37.   Plaintiff realleges and incorporates by this reference the allegations set forth
22 in Paragraphs 1 through 36 above as though fully set forth here.
23         38.   On or about March 15, 2025, Mr. Ferder, the Haim Family Trust, and Simba
24 IL Holdings (the “Guarantors”) executed a valid guaranty, in writing, wherein the
25 Guarantors “irrevocably and unconditionally guarantee[d], on a joint and several basis,
26 Lugano’s complete and timely compliance with and performance of all representations,
27 agreements, covenants and obligations of Lugano under this Agreement.”
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                                            COMPLAINT
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 1         39.    Lugano Diamonds defaulted on its obligations by failing to pay Winters the
 2 money he is due and owed under the Agreement within five days of the date on which
 3 Winters exercised his “Put Right.”
 4         40.    The Guarantors breached their guaranty to Mr. Winters by failing to ensure
 5 Lugano Diamonds’s complete and timely payment to Mr. Winters all money he is due and
 6 owed under the Agreement within five days of the date on which Mr. Winters exercised his
 7 “Put Right.”
 8         41.    As a direct and proximate result of this breach of guaranty, Mr. Winters
 9 suffered damages in an amount equal to the amount due and owing to him under the
10 Agreement, which sums are readily ascertainable, and otherwise to be proven at trial of at
11 least $8,550,000.
12                                THIRD CAUSE OF ACTION
13                           (Fraud Against Defendant Mr. Ferder)
14         42.    Plaintiff realleges and incorporates by this reference the allegations set forth
15 in Paragraphs 1 through 41 above as though fully set forth here.
16         43.    Mr. Ferder intended to and conspired to induce Mr. Winters to give Mr. Ferder
17 money based on the false representations that (i) the diamonds would be purchased on
18 behalf of Mr. Winters and accounted for accurately in the books and records of Lugano
19 Diamonds; (ii) the diamonds would be kept in the possession of Lugano Diamonds on
20 behalf of Mr. Winters and stored in safekeeping with other precious stones in Lugano
21 Diamonds’s inventory; (iii) the diamonds would be fully insured; (iv) Lugano Diamonds
22 would be fully responsible for any damage and risk of loss of the diamonds for any reason
23 prior to the sale of the diamonds; and (v) there was no more than $30,000,000 of similar
24 inventory financing arrangements outstanding with Lugano Diamonds at the time the
25 Agreement was executed.
26         44.    Mr. Ferder knew that these representations were false and were made with the
27 intention of inducing Mr. Winters to invest with Lugano Diamonds and Mr. Ferder.
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                                             COMPLAINT
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 1         45.     Mr. Winters reasonably relied on the misrepresentations of Mr. Ferder and
 2 invested a total principal amount of $3,075,000 with Lugano Diamonds and Mr. Ferder.
 3         46.     As a direct and proximate result of fraud by Mr. Ferder, Plaintiff has suffered
 4 damages in an amount to be proven at trial.
 5         47.     The actions of Mr. Ferder were malicious, oppressive, and taken in reckless
 6 disregard of Mr. Winters’s rights, so as to justify an award of punitive damages sufficient
 7 to punish and deter Mr. Ferder from engaging in such conduct in the future.
 8                                FOURTH CAUSE OF ACTION
 9     (Breach of Fiduciary Duty Against Defendants Lugano Diamonds and Mr. Ferder)
10         48.     Plaintiff realleges and incorporates by this reference the allegations set forth
11 in Paragraphs 1 through 47 above as though fully set forth here.
12         49.     Lugano Diamonds and Mr. Ferder are experts in the field of sourcing,
13 evaluating, appraising, purchasing, pricing, and selling diamonds, while Mr. Winters is not
14 an expert in this field.
15         50.     Lugano Diamonds and Mr. Ferder enticed and solicited Mr. Winters to place
16 his confidence and trust in Lugano Diamonds and Mr. Ferder’s ability to source, evaluate,
17 appraise, purchase, price, and sell diamonds.
18         51.     Mr. Winters agreed to partner with Mr. Ferder in his individual capacity and
19 on behalf of Lugano Diamonds to purchase the diamonds with the intent to sell the
20 diamonds for a profit.
21         52.     At all relevant times, Lugano Diamonds and Mr. Ferder had a fiduciary
22 relationship with Mr. Winters pursuant to this partnership.
23         53.     Lugano Diamonds and Mr. Ferder owed Mr. Winters fiduciary duties pursuant
24 to the partnership established to purchase the diamonds with the intent to sell the diamonds
25 for a profit.
26         54.     Lugano Diamonds and Mr. Ferder breached these duties to Mr. Ferder.
27         55.     As a direct and proximate result of this breach of fiduciary duty, Mr. Winters
28 has suffered damages in an amount to be proven at trial.
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 1                                  FIFTH CAUSE OF ACTION
 2     (Money Had and Received Against Defendants Lugano Diamonds and Mr. Ferder)
 3          56.   Plaintiff realleges and incorporates by this reference the allegations set forth
 4 in Paragraphs 1 through 55 above as though fully set forth here.
 5          57.   Mr. Winters invested $3,075,000 with Lugano Diamonds and Mr. Ferder that
 6 was intended to be used to purchase the diamonds.
 7          58.   The money invested by Mr. Winters was not used by Lugano Diamonds and
 8 Mr. Ferder to purchase the diamonds.
 9          59.   Lugano Diamonds and Mr. Ferder have not returned to Mr. Winters
10 $2,985,000 in principal invested by Mr. Winters with Lugano Diamonds and Mr. Ferder.
11                                  SIXTH CAUSE OF ACTION
12                        (Promissory Estoppel Against all Defendants)
13          60.   Plaintiff realleges and incorporates by this reference the allegations set forth
14 in Paragraphs 1 through 59 above as though fully set forth here.
15          61.   Plaintiff alleges, in the alternative to his breach of contract claim, that Plaintiff
16 is entitled to recover under the doctrine of promissory estoppel if it is determined that either
17 a valid and enforceable contract does not exist, the existing contract does not cover the
18 subject matter of the dispute between Plaintiff and Defendants, or the existing contract is
19 void, invalid, or unenforceable.
20          62.   Lugano Diamonds and Mr. Ferder made clear and unambiguous
21 representations that Mr. Winters’s investment would be used to purchase the diamonds,
22 which were to be sold to third parties for profit.
23          63.   Lugano Diamonds and Mr. Ferder made further clear and unambiguous
24 representations that Lugano Diamonds would return Mr. Winters’s original investment
25 amount to him and pay Mr. Winters a split of any remaining profit generated from the sale
26 of the diamonds.
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 1          64.   Mr. Ferder, for himself individually and on behalf of the Haim Family Trust
 2 and Simba IL Holdings, made clear and unambiguous representations that he would
 3 personally guarantee Lugano Diamond’s performance of these representations.
 4          65.   Mr. Winters relied on these representations and assurances to his detriment by
 5 investing $3,075,000 with Lugano Diamonds and Mr. Ferder rather than investing this
 6 money elsewhere.
 7          66.   As a direct and proximate result of the ats alleged herein, Mr. Winters suffered
 8 substantial detriment caused by reliance on said representations, assurances, and
 9 guarantees.
10          67.   Mr. Winters has suffered actual, significant, and unconscionable injury in an
11 amount equal to the amount due and owing to him pursuant to the representations and
12 assurances made by Lugano Diamonds and Mr. Ferder, which sums are readily
13 ascertainable, and otherwise to be proven at trial of at least $8,550,000.
14                               SEVENTH CAUSE OF ACTION
15        (Unjust Enrichment Against Defendants Lugano Diamonds and Mr. Ferder)
16          68.   Plaintiff realleges and incorporates by this reference the allegations set forth
17 in Paragraphs 1 through 67 above as though fully set forth here.
18          69.   Plaintiff alleges in the alternative to his breach of contract claim that Plaintiff
19 is entitled to recover under the unjust enrichment doctrine if it is determined that either a
20 valid and enforceable contract does not exist, the existing contract does not cover the subject
21 matter of the dispute between Plaintiff and Defendants, or the existing contract is void,
22 invalid, or unenforceable.
23          70.   Mr. Winters conferred a benefit upon Lugano Diamonds and Mr. Ferder when
24 he invested $3,075,000 with Lugano Diamonds and Mr. Ferder for the purpose of
25 purchasing the diamonds, which were to be sold to third parties for profit.
26          71.   Lugano Diamonds and Mr. Ferder have retained $2,985,000 in principal that
27 Mr. Winters provided and well as any profits generated from the sale of the diamonds.
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                                              COMPLAINT
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 1          72.   As between Mr. Winters and Lugano Diamonds and Mr. Ferder, it would be
 2 unjust for Lugano Diamonds and Mr. Ferder to retain the benefit.
 3                                    PRAYER FOR RELIEF
 4          THEREFORE, Plaintiff prays for judgment as follows:
 5          1.    For both compensatory damages and non-compensatory damages in an amount
 6 to be proven at trial, but that exceed the jurisdictional minimum of this Court;
 7          2.    For punitive damages;
 8          3.    For attorneys’ fees and costs of suit;
 9          4.    For restitution;
10          5.    For an order enforcing the guaranty made by the Guarantors;
11          6.    For any and all available statutory civil penalties;
12          7.    For pre- and post-judgment interest at the maximum legal rate;
13          8.    For a temporary restraining order, preliminary injunction, a permanent
14 injunction, order of attachment, and other relief, against defendants, and each of them;
15          9.    For such other and further relief as the Court deems just and proper.
16
17
       Dated: June 3, 2025                        BIENERT KATZMAN
18                                                LITTRELL WILLIAMS LLP
19
                                                  By:
20                                                         Steven J. Katzman
                                                           John L. Littrell
21
22                                                         Attorneys for Kristoffer Winters
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 1                                 DEMAND FOR JURY TRIAL
 2
            Plaintiff demands a jury trial.
 3
 4     Dated: June 3, 2025                      BIENERT KATZMAN
                                                LITTRELL WILLIAMS LLP
 5
 6                                              By:
                                                       Steven J. Katzman
 7
                                                       John L. Littrell
 8
                                                       Attorneys for Kristoffer Winters
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11                                    #          #              #

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                   EXHIBIT A
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                                              AGREEMENT

                      This agreement (this "Agreement") is entered into effective as of March 15, 2025
      (the "Effective Date"), by and among each of Kristoffer Winters, in his individual capacity
      ("Investor"), Lugano Diamonds & Jewelry, Inc. ("Lugano"), and solely with respect to Sections 6
      and 7, Mordechai Ferder, in his individual capacity (“Moti”), the Haim Family Trust and Simba
      IC Holdings, LLC (collectively, the "Trusts").
                                                RECITALS

                    A.      Moti is the founder and Chief Executive Officer of Lugano.

                     B.      Moti recommended to Investor to invest in certain diamonds
           (collectively, the “Diamonds”) and Investor made such investments as reflected on
           Exhibit A attached hereto (the “Spreadsheet”).

                    C.       Lugano consummated the purchase of the Diamonds on behalf of the
           Investor in connection with the Prior Agreements, with the intent of making rings from the
           diamonds and thereafter selling the Diamonds to third parties (each, a “Buyer” and
           collectively, the "Buyers").


                                              AGREEMENT

            1.     Incorporation of Recitals. The foregoing recitals are incorporated herein and
           made a part of this Agreement.

             2.      Purchase, Possession, Record Keeping, Insurance and Outstanding
           Arrangements. Lugano and Moti acknowledge and agree (a) the Diamonds have been
           purchased for the original investment amounts set forth in the Recitals on behalf of the
           Investor and are accounted for accurately and in conformity with this Agreement on the
           books and records of Lugano, (b) the Diamonds are in the possession of Lugano on
           behalf of Investor and are stored in safekeeping with other precious stones in Lugano's
           inventory, (c) the Diamonds are fully insured to cover the minimum returns set forth in
           the Prior Agreements, (d) Lugano is fully responsible for any damage and risk of loss of
           the Diamonds for any reason prior to the sale of the Diamonds to the Buyers, (e) there is
           no more than $30M of similar inventory financing arrangements outstanding with
           Lugano as of the date of this Agreement, and (f) the Spreadsheet is true and correct in all
           respects.

             3.    Design and Manufacture of Ring; Intent to Sell. The parties agree that
           Lugano will be responsible for designing and manufacturing one or more rings for the
           Diamonds and Lugano will thereafter be responsible for delivering them for sale to the
           Buyers.

             4.      Profits and Losses; Distributions; Dissolution. Within 3 business days
           following the sale of the Diamonds to the buyers, Lugano and Moti will provide a
           complete accounting to the Investor along with reasonable back-up as may be requested
           and wire the necessary funds to the Investor in accordance with Investor’s wiring
           instructions. The parties agree that in connection the sale of the Diamonds, the purchase
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